Case 4:18-cv-04412 Document 128 Filed on 10/03/19 in TXSD Page 1 of 2

2.5

"JOHN SATN. Pro Se . United Stateg Co
TNGT ID #01373168 Southern District Of Tose
O.L. Luther Unit(P2) . FILED
1800 Luther Dr- _ oc f
Navasota. Tx 77868-4714 , ; 03 2019
Septetiber 227 , :2019 . David J. Bradley, Clerk of Coun

Clerk of Courts
P.O. Box 61010
Houston, TX 77208

Re: Civil Action No. 4:18-cv-04412.
ADDRESS CHANGE FOR PLAINTIFF. THYEE MCGRUDER

Dear Clerk,
In responce to Documents 83, 84, 85, 108, 116, 121, and 122, mail returned

-for Plaintiff Thyee McGruder, I am-providing his updated address with the

request: that your :6ffice:

1) Update the Courts Docket with this new address;
2) Prepare and re-mail to him copies of the previously returned documents: and
His new address is: . "
THYEE MCGRUDER

6020 OAKLAND BEND DR., APT. 139

FT. WORTH, TX 76112

(682) 301-3523

Thank you for your assistance.

For “questions and immediate assistance, please contact Tim Sain at (817)
307-9087 or via email at t.sain@yahoo.com.

SPE L
: Coto .

JOHN -.SAIN
BES ial ‘1g0alep
“300 Aurnen On
Te 77 868-474

AYA SOTA,

of Wey. 0494/2,
SPE IAL

 

United States Courts
Southern District of Texas
FILED

OCT 03 2019

David J. Bradley, Clerk of Court

PRis3? :
Sat

 

aysdespelgpbef of felis ii

j
i

i,
i

j

3
t

Hi
ut

| FOREV

euase

ER / USA

 

Case 4:18-cv-04412 Document 128 Filed on 10/03/19 in TXSD Page 2
